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                                                 VERIFICATION

             PAUL QASSIS, of full age, certifies as follows:

             1.          I am a manager and fifty (50%) percent owner of Fortress Holdings, LLC, the

   debtor and debtor-in-possession to which this verification is attached. All of the facts stated above

   are true, and as to those facts that are alleged on information and belief, I believe those facts to be

   true.

             2.          I certify the foregoing statements made by me are true. I am aware that if any of

   the foregoing statements made by me are willfully false, I am subject to punishment.




   DATED: July8, 2025




  4899-7210-3715, V. 1
